Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 1 of 23 Page|D: 1914

NOT FOR PUBLICATION

UNITED STATES DISTRIC']` COURT
DISTRICT OF NEW JERSEY

 

LORD ABBETT INVESTMENT TRUST-
LORD ABBETT SHORT DURATION
INCOME FUND, et al.,

Civil Action No. 17-6365 (MAS) (LHG)
Plaintiffs,

V.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.,

Defendants.

 

THE BOEING COMPANY EMPLOYEE
RETIREMENT PLANS MASTER

TRUST AND THE BOEING COMPANY
EMPLOYEE SAVINGS PLANS Civil Acrion No. 17-7636 (MAS) (LHG)
MASTER TRUST,

Plaintiffs,
V.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.,

Defendants.

 

PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM OF MISSISSIPPI,

Civil Action No. 17-7625 (MAS) (LHG)
Plaintiff,

MEMORANDUM OPINION
v.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.,

 

Defendants.

 

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 2 of 23 Page|D: 1915

SHIPP, District Judge

This matter comes before the Court on fifteen motions to dismiss filed in the above
matters1 Plaintiffs opposed (ECF No. 83)2 and Defendants (except Pearson)3 replied (ECF Nos.
99, 100, lOl, 102). The Court has carefully considered the parties’ submissions and decides the
matter Without oral argument pursuant to Local Civil Rule 78.1. F or the reasons set forth beloW:
PricewaterhouseCoopers LLP’s (“PWC”) motions to dismiss the Section 10(b) claims are granted;

Carro’s motion to dismiss the Section 10(b) claim in Lorcl Abbett is denied; Valeant Defendants14

 

l The motions currently pending before the Court are:

l. Lord Abberz,‘ Invesz‘menr Tr'usr‘-Lord Abbett Short Duratz'on Income tha', et al. v. Valeant
Pharmaceutt`cals Inrernational, Inc., et al., Civ. No. 17-6365 (“Lora’ Abbett”): Pal‘tial
Motion to Dismiss by Valeant Pharmaceuticals Intemational, Inc. and Robert Rosiello
(ECF No. 61).

Lord Abbett: Partial Motion to Dismiss by Michael Pearson (ECF No. 62).

Lord Abbetr: Partial Motion to Dismiss by Howard B. Schiller (ECF No. 58).

Lord Abbetr: Motion to Dismiss by Tanya Carro (ECF No. 60).

Lord Abbett.' Motion to Dismiss by PrieewaterhouseCoopers LLP (ECF Not 59).

The Boei`ng Company Employee Retz'rement Plans Mczster Trust and The Boez`ng Com.pany

Employee Savt`ngs Plans Master Trust v. Valeanf Pharmaceutz‘cals lntematz'onal, Inc., et

al., Civ. No. 17-7636 (“Boei'ng”): Partial Motion to Dismiss by Valeant Pharrnaceuticals

and Robert Rosiello (ECF No. 52).

Boez'ng: Partial l\/fotion to Dismiss by Michael Pearson (ECF No. 53).

Boet'ng: Partial Motion to Dismiss by Howard B. Schiller (ECF No. 49).

Boet‘ng: Partial Motion to Dismiss by Tanya Carro (ECF No. 51).

0. Boez'ng: Motion to Dismiss by PriceWaterhouseCoopers LLP (ECF No. 50).

l. Pub[t'c Empfoyees' Retiremem System of Mississippz' v. Valeant Pharmaceuricals
laterariona!, Inc., er al., Civ. No. 17-7625 (“Mc`ssz’ssippi”): Partial Motion to Dismiss by
Valeant Pharmaceuticals and Robert Rosiello (ECF No. 50).

12. Mississfppz`: Partial Motion to Dismiss by l\/Iichael Pearson (ECF No. 51).

13. Missz'sstppi.' Partial Motion to Dismiss by Howard B. Schiller (ECF No. 47).

14. Mississzppi.' Partial l\/lotion to Dismiss by Tanya Carro (ECF No. 49).

15. Mississz‘ppi: l\/Iotion to Dismiss by PricewaterhouseCoopers LLP (ECF No. 48).

P\S-".J>~E~"!‘-’

""_`.\C’?°."-‘

2 For ease of reference, record citations refer to Lom' Abbetf unless otherwise specified

3 Pearson did not submit his own briefing and instead relied upon the memorandum of law
submitted by Valeant, (Not. of Motion, ECF No. 62.)

4 The “Valeant Defendants” are all Defendants except PWC.

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 3 of 23 Page|D: 1916

motions to dismiss the RICO claims are denied; PwC’s motions to dismiss the RICO claims are
granted; Defendants’ motions to dismiss the Section 18 claims are denied; and Defendants’
motions to dismiss the common law fraud and negligent misrepresentation claims are granted.
I. Background

These are direct actions arising out of the same facts and circumstances as the class action
currently pending before the Court under docket number 15-7658 (“Class Action”). The Court
assumes the parties’ familiarity with the underlying facts and recites the facts only to the extent
necessary to decide these motions. Essentially, Plaintiffs allege that Valeant Pharmaceuticals
lnternational, Inc. (“Valeant”) and certain executives, namely, Robert Rosiello (“Rosiello”),5
Howard Schiller (“Schiller”),6 Michael Pearson (“Pearson”),7 and Tanya Carro (“Carro”)8
(collectively, “Valeant Defendants”) engaged in a “massivc, fraudulent scheme” “to artificially

inflate the price of Valeant’s securities.” (Compl. 11 1.)9 Plaintiffs allege Defendants used “a

 

5 Rosiello served as Valeant’s CFO and an EVP from July 2015 to December 31, 2016. (Compl.
ii 3’7.)

6 Schiller served as Valeant’s CFO and an EVP from December 2011 to June 30, 2015. Schiller
was also a member of the Board ofDirectors from September 2012 through June 14, 2016. (Compl.
‘[l 36.)

7 Pearson served as Valeant’s CEO from September 2010 through May 3, 2016, a member of the
Board of Directors (frorn February 2008 through May 3, 2016, except When on medical leave from
January through February 201-6), and Chairman of the Board of Directors (from March 2011
through January 2016). (Ia’. 11 35.)

8 Carro served as Valeant’s Corporate Controller. (Ia'. 11 38.)

9 Plaintiffs filed an Amended Complaint in Lord Abben‘ after filing opposition to the motions
(ECF No. 88.) Because there are no substantive changes contained in the Amended Complaint
(which only names additional Plaintiffs and identifies additional purchases ofValeant Notes), and
because the parties’ briefing cites to the original Complaint, the Court will also cite to the original
Complaint.

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 4 of 23 Page|D: 1917

clandestine pharmacy network, deceptive pricing and reimbursement, and fictitious accounting”
to perpetrate the fraud. ([d.)

Specifically, Plaintiffs allege that Valeant actively mislead investors about the drivers of
its growth While relying on a “secret network of controlled pharmacies and deceptive business
practices” (z'a’. 1111 5, 7, 44, 366, 368-70) to facilitate extreme price~hikes “that a transparent market
would not tolerate” (id. 11 43) and to protect Valeant products from generic competition (z'd. 1111 5-8,
64). Plaintiffs further allege that the Valeant Defendants, together with the help of Valeant’s
outside auditor, PwC, misled investors in Valeant’s financial documents (id. 1111 70, 73-74, 123-
50). According to Plaintiffs, Defendants made material misrepresentations about Valeant’s
business, its relationship with Philidor, the drivers of its growth, its compliance with Generally
Accepted Accounting Principles (“GAAP”) and Generally Accepted Accounting Standards
(“GAAS”), and the adequacy of its internal controls. (Ia’. 1111 151-243.) Plaintiffs allege the scheme
had a “devastating impact” on Valeant’s investors (Ia’. 11 14.) As the truth was revealed about
Valeant’s practices, the “stock price plummeted . . . more than 90%, and the value of its debt
securities similarly collapsed.” (Id.1111 14, 116.) Plaintiffs claim that even as the wrongdoing came
to light, Defendants continued to make misrepresentations to investors (Id. 1111 249-306, 329-37.)

Plaintiffs in these actions bring claims for:10 (1) Racketeering in Violation of N.J.S.A.
§ 2C:4l -2(c); (2) Racketeering in Violation of N.J.S.A. § 2C`:4l-2(d); (3) Aiding and Abetting in
Violation of N.J,S.A. § 2C:4l-2(c) and (d)',ll (4) Violations of Section 10(b) of the Securities
Exchange Act of 1934 (“Exchange Act") and Rule 10b~5 (“Section lO(b)”); and (6) Violation of

Section 20(a) of Exchange Act (“Section 20(a)”) (against Pearson, Schiller, and Rosiello). ln

 

10 Claims are brought against all Defendants unless otherwise specified

ll Counts I, II, and III fall under New Jersey’s Racketeering Statute, or “N.J. RIC.O.”

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 5 of 23 Page|D: 1918

addition, Plaintiffs in Lom' Abberr and Boei`ng bring the following claims: (1) Violation of Section
18 of the Exchange Act (“Section 18”) (against Valeant, Pearson, Schiller, and Rosiello); (2)
Common Law Fraud; and (3) Negligent l\/Iisrepresentation (against the Valeant Defendants).

The Valeant Defendants, Pearson, and Schiller move to dismiss the N.J. RICO, Section 18,
and common law fraud and negligent misrepresentation claims in each of the Complaints. PwC
moves to dismiss all claims against it. Carro moves to dismiss all claims against her in Lord
Abberr, and all claims against her except the Section10(b) claims in Missz`ssippz' and Boeing.

II. Legal Standard

When analyzing a Rule 12(b)(6) motion, district courts conduct a three-part analysis First,
the court must “tak[e] note of the elements a plaintiff must plead to state a claim.” Ashcroft v.
Iqba[, 556 U.S. 662, 675 (2009). Second, the court must accept as true all of a plaintiff’s
well-pleaded factual allegations and construe the complaint in the light most favorable to the
plaintiff Fowler v. UPMC Shadysz`de, 578 F.3d 203, 210 13d Cir. 2009). The court, however,
must disregard any conclusory allegations proffered in the complaint Id. at 210-l l. Finally, the
court must determine Whether the “facts alleged in the complaint are sufficient to show that the
plaintiff has a ‘plausible claim for relief”’ Id. at 211 (quoting [qbal, 556 U.S. at 679).

Where a plaintiff pleads fraud, however, the plaintiff cLmust meet a heightened pleading
standard under Federal Rule of Civil Procedure 9(b).” Zunigcz v. Am. Home Mortg., No 14-2973,
2016 WL 6647932, at *2 (D.N.J. Nov. 8, 2016). “ln alleging fraud . . . , a party must state with
particularity the circumstances constituting fraud . . . Fed. R. Civ. P. Q(b). “A plaintiff alleging
fraud must therefore support its allegations ‘with all of the essential factual background that would
accompany the first paragraph of any newspaper story_that is, the who, what, when, where and

how of the events at issue.”’ U.S. ex rel. Moore & Co., P.A. v. Majesric Blue Fisheries, LLC, 812

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 6 of 23 Page|D: 1919

F.3d 294, 307 (3d Cir. 2016) (quoting fn re Rockefeller Cir. Props., Inc. Sec. Litz`g., 311 F.3d 198,
217 (3d Cir. 2002)). Additionally, the Private Securities Litigation Reform Act (“PSLRA”)
requires that a securities fraud complaint “specify each statement alleged to have been misleading,
the reason or reasons why the statement is misleading and, if an allegation regarding the statement
or omission is made on information and belief, the complaint shall state with particularity all facts
on which that belief is formed.” OFI Asset Mgmf. v. Coopcr Tt're & Rubber, 834 F.3d 481, 490

(3d Cir. 2016) (quoting fn re Suprema Spect`alties, Inc. Secs. Lirig., 438 F.3d 256, 276 n.8 (3d Cir.

2006)).
III. Discussion
A. Section 10(b) (Count IV)
i. PW_C

PwC moves to dismiss Plaintiffs’ Section 10(b) counts arguing that Plaintiffs do not plead
a'strong inference of PwC’s scienter or motive to commit fraud. (PwC’s l\/Iot. to Dismiss 8-10,
ECF No. 59.) PWC emphasizes that in the fifty-eight paragraphs related to scienter, PwC is
mentioned only once, and it is in the context of Philidor’s actions (Ia’. at 10. (“Philidor provided
data to . . . PwC”).) PwC argues that the pleadings, at most_ allege negligence The Complaints
themselves indicate that other Defendants provided PwC with incorrect information (Id. at 13
(citing Compl. 11 337).)

Plaintiffs respond by arguing that the allegations of egregious accounting violations and
knowledge of key information give rise to a strong inference that “a reasonable accountant”
conducting Valeant’s audit would have concluded that Valeant was violating GAAP. (Pl,’s Opp’n
Br. 48, ECF 83.) Plaintiffs insist that, considered together, allegations regarding the size and

seriousness of the fiaud, PwC’s unique position, and demonstrated consideration of information

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 7 of 23 Page|D: 1920

that contained serious errors provide a strong inference that PwC’s audit was “so shoddy” that it
amounted to a “pretend audit.” (Id. at 53.)

The Third Circuit has allowed a RICO claim to survive against an outside auditor where
the complaint alleged egregious violations of accounting principles and standards “coupled with
allegations that significant ‘red flags’ were ignored” and the allegations were pled with
particularity Sim v. Han, 2015 WL 9304542, at *13 (D.N.J. Dec. 21, 2015) (citing fn re Supreme
Speci'alfi'es, Inc. Sec. Li'tig., 438 F.3d at 279-80). Courts that have addressed this issue, however,
have found that pleading scienter against an outside auditor is “particularly demanding.” Athale v.
Si`noTech Energy Lta’., No. 11-5831, 2014 WL 687218, at *5 (S.D.N.Y. Feb. 21, 2014) (intemal
quotation omitted). A strong inference of scienter may be established “either (a) by alleging facts
to show that defendants had both motive and opportunity to commit fraud[;] or (b) by alleging
facts that constitute strong circumstantial evidence of conscious misbehavior or recklessness.”
Klei`n v. Aiirek Corp., 147 F. App’X 270, 277 (3d Cir. 2005) (quoting GSC Parmers CDO Fima’ v.
Wcishi'ngton, 368 F.3d 228, 237 (3d Cir. 2004)).

Here, even taking Plaintiffs’ allegations as true, the allegations in the Complaints do not
establish either. The Complaints sound in negligence, not fraud~and certainly do not support the
strong inference of scienter required for a Section 10(b) claim. Plaintiffs’ own argument relies on
what a “reasonable accountant” should have concluded (Pls.` Opp’n Br. 53.), clearly suggesting a
negligence standard_not “conscious misbehavior or recklessness.” Further, to the extent
Plaintiffs argue that PwC had a motive and opportunity to commit fraud, the only "motive”
identified in the Complaints is PwC’s receipt of fees for completion of the audit. The Third Circuit

has held that the payment of professional fees, without more, is clearly insufficient to establish a

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 8 of 23 Page|D: 1921

Section 10(b) claim. Klein, 147 F. App’X at 277. Accorclingly, the Court grants PWC’S motion to
dismiss Count IV in each of the Complaints,12
ii. Carro (Lord Abbett onlv)

Carro also moves to dismiss the Section 10(b) claim against her in Lord Abbetr. Carro’s
argument is essentially that because her alleged misstatements on the October 2015 call occurred
after the Lord Abbert Plaintiffs purchased the notes, there can be no reliance, and, therefore, the
claim must be dismissed13 Plaintiffs respond that they pled several other actions by Carro,
including that Carro was involved in the drafting, preparation, and/or approval of the 2014 10-K
and lO-Qs that were filed prior to the Lord Abbeti purchases Plaintiffs argue, therefore, that they
have sufficiently pled reliance. (Pl.’s Opp’n Br. 24, n.17.)

The Court finds that the conduct alleged as to Carro` even without the two misstatements
allegedly made on an October call, are sufficient to survive the motions to dismiss (See Compl.
1111 322 (pleading Carro’s involvement in Valeant’s allegedly misleading financial statements).)
Under the fraud-on-the~market presumption, the price of a security is “assumed to have
incorporated the alleged misrepresentations” and a Section 10(b) plaintiff “is entitled to a
presumption of reliance if he bought securities in an efficient market.” Pi’nker v. Roche Holdi'rigs
er., 292 F.3d -361, 373 (3d Cir. 2002). In this situation, therefore, considering the acts alleged in

the Complaints, and using the fraud-on-the-market presumption, it would be premature to dismiss

 

12 For this reason, the Court also finds that the Common Law Fraud claim against PwC is not
sufficient to withstand the motion to dismiss, and Count VII against PwC in Lord Abbett and
Boei`ng are also dismissed

13 The Lom' Abbert Plaintiffs purchased securities between .\/larch l, 2013 and October 5, 2015.
The phone call identified by Plaintiffs where Carro allegedly made misrepresentations to investors
occurred on October 26, 2015. (Iri’. at 13.)

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 9 of 23 Page|D: 1922

the Section 10(b) claim against Carro at this stage of the proceedings Carro’s motion, therefore,
is denied

B. New Jersey RICO Claims (Counts I, II, and III)

Plaintiffs assert three N.J. RICO counts in each Cornplaint. Plaintiffs claim Defendants
violated N.J.S.A. § 2C:41-2(c) and (d) and aided and abetted violations of these subsections The
relevant statute provides as follows:

c. lt shall be unlawful for any person employed by or associated with
any enterprise engaged in or activities of which affect trade or
commerce to conduct or participate, directly or indirectly, in the
conduct of the enterprise’s affairs through a pattern of racketeering

activity or collection of unlawful debt.

d. lt shall be unlawful for any person to conspire as defined in N.J.S.
2C:5-2, to violate any of the provisions of this section.

N.J.s.A. § 20:41-2.‘4
i. Valeant Defendants
a. N.J. RICO Section C

To prove a violation under N.J.S.A. § 2C:41-2(c), Plaintiffs must show: “(1) the existence
of an enterprise; (2) that the enterprise engaged in or its activities affected trade or commerce;
(3) that defendant was employed by, or associated with the enterprise; (4) that he or she
participated in the conduct of the affairs of the enterprise; and (5) that he or she participated
through a pattern of racketeering activity.” Strite v. Ball, 141 N.J. 142, 181 (1995) (citing Stcn‘e v.

Ball, 268 N.J. Super. 72, 99 (N.J. App. Div. 1993)). Defendants argue that Plaintiffs have failed

to sufficiently state a claim.

 

14 None of the Defendants argue that the N.J. RICO claims are preempted by the Securities
Litigation Uniforrn Standards Act (“SLUSA”). As such, the Court will not analyze whether
SLUSA impacts the N.J. RICO claims

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 10 of 23 Page|D: 1923

1. Existence of an Enterr)rise

The Valeant Defendants argue that Plaintiffs fail to sufficiently plead the existence of an
enterprise for purposes of N.J. RICO because Plaintiffs have not pled an enterprise that exists
separate and apart from the conduct in which it engaged or an “ascertainable structure” of the
enterprise (Valeant’s l\/[oving Br. 10, 12-14, ECF No. 61.) Plaintiffs respond that Defendants
misconstrue the relevant legal precedent, as N.J. RICO does not require an enterprise to stand apart
from the pattern of racketeering activity or the enterprise to have an ascertainable structure (Pls.’
Opp’n Br. 17, ECF No. 83.)

N..l. RICO statute defines “enterprise” broadly as "any individual, sole proprietorship,
partnership, corporation, business or charitable trust, association, or other legal entity, any union
or group of individuals associated in fact although not a legal entity, and it includes illicit as well
as licit enterprises and governmental as well as other entities.” N.J.S.A. § 2C:41-l. In Ball, the
New Jersey Supreme Court addressed the requirements of an enterprise After a thorough review
of the N.J. RICO statute, the federal RlCO statute, the legislative history, and the relevant case
law, the New Jersey Supreme Court held that the N.J. RICO statute should be broadly construed
Ba[l, 141 N.J. at 160-61. The Court found that while the “enterprise” requirement is separate and
apart from the “pattern of racketeering activity_.” “evidence that serves to establish such an
enterprise need not be distinct or different from the proof that establishes the pattern of
racketeering activity.” Ia'. at 162. “The organization of an enterprise need not feature an
ascertainable structure or a structure with a particular configuration.” Ia’. lnstead, “[t]he division
of labor and the separation of functions undertaken by the participants serve as the distinguishing
marks of the ‘enterprise.”’ Ia’. In other words, the fact that the group “divide[s1 and assemble[s]”

its tasks, necessarily requires the “high degree of planning, cooperation and coordination” to

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 11 of 23 Page|D: 1924

constitute an organization Id. While an “ascertainable structure” is sufficient to meet this
standard, it is not the only method by which Plaintiffs can establish an enterprise. Ia'. at 162-63
(“Apart from an organization’s structure . . . the focus of thc evidence must be on the number of
people involved and their knowledge of the objectives of their association, how the participants
associated with each other, whether the participants each performed discrete roles in carrying out
the scheme, the level of planning involved, how decisions were made, the coordination involved
in implementing decisions, and how frequently the group engaged in incidents or committed acts
of racketeering activity, and the length of time between them.”).

Reviewing the Complaint against the backdrop of the New Jersey Supreme Court’s
analysis, the Court finds that Plaintiffs have sufficiently alleged N.J. RICO claims under section c
against the Valeant Defendants The Complaints specifically allege the participants in the
enterprise (Compl. 1111 41-77) Who acted over the course of eight years (i`d.) in furtherance of the
group’s ongoing efforts to deceive the public for the benefit of the company and themselves (see,
e.g., id 11 5). Plaintiffs include allegations of specific acts committed by each Valeant Defendant
in furtherance of the objective, actions taken to effectuate or conceal these efforts, and knowledge
of the participation (Id. 1111 41-77.) Based on a review of the pleadings and the Court’s reading of
the Ball requirements therefore, the Court finds that Plaintiffs have sufficiently pled the existence
of an “enterprise” to survive a motion to dismiss

2. Pattern of Racketeering Activitv

To be liable under N.J. RlCO, a defendant’s involvement in an enterprise must be
accomplished “through a pattern of racketeering activity.” N.J.S.A. § 2C:4l-2(c). A “pattern of
racketeering activity,” requires:

(1) Engaging in at least two incidents of racketeering conduct one
of which shall have occurred after the effective date of this act and

10

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 12 of 23 Page|D: 1925

the last of which shall have occurred within 10 years (excluding any
period of imprisonment) after a prior incident of racketeering
activity; and

(2) A showing that the incidents of racketeering activity embrace
criminal conduct that has either the same or similar purposes
results participants or victims or methods of commission or are

otherwise interrelated by distinguishing characteristics and are not
isolated incidents

N.J.S.A. § 2C:41-1d.

Carro and Schiller each challenge Whether Plaintiffs have alleged a pattern or practice of
racketeering activity because Plaintiffs have not pled that Carro and Schiller personally committed
two predicate acts (Carro’s l\/loving Br. 5, ECF No. 60; Schiller’s l\/foving Br. 4, ECF No. 58.)
Carro argues that the only factual allegations as to Carro are a pair of false statements during an
October 26, 2015 conference call, which counts as one act1 and the minimum requirement for a
patteni of racketeering is two predicate acts (Id. at 6.) Carro argues that any other allegations
about her conduct are improperly group pled and cannot sufficiently establish two predicate acts
(Ia'. at 7-10.) Similarly, Schiller argues that Plaintiffs’ claims are not pled with particularity and
do not allege facts describing how his statements were fraudulent (Schiller’s l\/loving Br. 4.)

Plaintiffs respond that because Defendants “concedc” viable Section 10(b) claims by not
moving to dismiss them, there are sufficient predicate acts (Pls.’ Opp’n Br. 22, ECF NO. 83.)
While the Court recognizes that Defendants have not made any concessions regarding these claims
by not moving to dismiss them, see Bafter v. Uni`ted States, 172 F. App’x 401, 403 (3d Cir. 2006),

as the Section 10(b) claims are not challenged here,15 and the Court, in any event, would find

 

'5 Although Carro challenged the Section 10(b) claim against her in Lorcf Abbett, the Court denied
her motion on this ground, as discussed above.

11

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 13 of 23 Page|D: 1926

sufficient allegations to survive such a challenge,16 there are. at least for purposes of this motion,
sufficiently alleged Section 10(b) claims In addition Plaintiffs pointed to twenty-two
misstatements by Schiller and four by Carro. (Pls’ Opp’n Br. 22.) Plaintiffs also allege that
Schiller signed Sarbanes-Oxley (“SOX”) certifications containing misrepresentations and Carro
oversaw preparation of financial reports and made misrepresentations on conference calls (ld. at
24 (citing Compl.1111 38, 53, 277, 337, 347).) Given the scope of these allegations and as a Section
10(b) claim is undoubtedly a “predicate act” under N..l. RICO, N.J.S.A. § 2C:4l-1(a)(1)(p), the
Court finds that Plaintiffs have alleged the requisite pattern of racketeering activity.
b. N.J. RICO Conspiracy (Section D)

An N..l. RlCO conspiracy has two elements (1) an agreement to violate RICO and (2) the
existence of an enterprise Ball, 141 N.l. at 176. The enterprise issue was discussed above, and,
therefore, the Court’s analysis will focus on the agreement The agreement requirement has two
sub-parts: (1) an agreement to participate in the conduct of the enterprise; and (2) an agreement to
the commission of at least two predicate acts Id. “lf either agreement is lacking, the defendant
has not embraced the objective of the conspiracy_the substantive violation of the RlCO Act_
that is required for any conspiracy.” Id. While a defendant must “have some minimal knowledge
of the extent of the enterprise,” id. (citing Um'ted States v. l,)i'eci'due, 603 F.2d 53 5, 556 (5th Cir.
1979), cert denied 445 U.S. 946 and 446 U.S. 912 (1980)), [i]t is sufficient if a defendant knows
‘the general nature of the enterprise and know[s] that the enterprise extends beyond his individual
role.”’ Id. (citing Uni`ted Stcires v, Eiifrasio, 935 F.2d 553, 577 n.29 (3d Cir. 1991)). As to the

agreement to commit two predicate acts the New Jersey Supreme Court analyzed cases

 

16 see 1a re Vaream Pharms. nat ina sea Liag., NO. 15-07653, 2017 wL 1653822, ar *12-13
(D.N.i. Apr_ is 2017)

12

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 14 of 23 Page|D: 1927

disagreeing on whether the participant must agree to commit two predicate acts or whether it is
sufficient for the participant to agree that others will commit the acts Ball, 141 N.J. at 177-81. The
New Jersey Supreme Court found that requiring every participant to commit two acts would be an
overly strict reading of the statute that could potentially insulate wrongdoers that were otherwise
involved in the conspiracy, but did not personally agree to commit two acts Id. at 181.

Defendants argue Plaintiffs do not sufficiently plead an agreement to violate N.J. RlCO.
(Valeant’s Moving Br. 17, ECF No. 61-1.) ln addition, Schiller and Carro argue that the
allegations against them are improperly group-pled (Carro’s l\/loviiig Br. 10; Schiller’s Moving
Br. 5.) Plaintiffs respond that the pleadings sufficiently demonstrate that the Valeant Defendants
purposefully instituted a deceptive business model and made concerted efforts to conceal it from
investors through deceptive accounting measures and misrepresentations (Pls.’ Opp’n Br. 33
(citing Compl. 1111 92'-99, 115-16, 141-93, 214-26, 249-97).) Plaintiffs assert they have alleged
collective and concerted action that is an objective manifestation of the agreement to conspire and
the claims should not be dismissed at this time because fact intensive inquiries are necessary to
determine liability. (Ia’. at 34-36.)

Claims for conspiracy are held to the pleadings standard under Rule 8 rather than the
stringent pleading standard under Rule 9(b). Prirdenri`al his Co. of/lm. v. Goldman, Scichs & Co.,
2013 WL 1431680, at *13 (D.N.J. Apr. 9, 2013) (citing i'l/Ii'ller v. P.G. Lewi`s & Assoc., No.
05-5641, 2007 WL 316446, at *4 (D.N.J. Jan. 30, 2007)). Af`ter thorough review ofthe pleadings
the Court finds that the Plaintiffs have sufficiently pled an f\l.l. RICO conspiracy count against
each Valeant Defendant. The Complaints provide ample allegations regarding the Valeant
Defendants’ agreement to further the enterprise For example, Plaintiffs allege that Valeant

“pursued a deliberate strategy_devised at the highest level of the coinpany, but hidden from

13

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 15 of 23 Page|D: 1928

investors” (Compl. 11153(a)), which relied on inaccurate financial statements (i`d. 11 153(d), (g), (i))
and a secret network of pharmacies (ia’. 11 l53(e)) advanced through the conduct of the individual
Valeant Defendants (id. 1111151-243). Further, a complete analysis as to the knowledge and
agreement of each individual will be more appropriate at summary judgment At this early stage
of the proceedings and evaluating the pleadings against the Rule 8(a) standard, the Court finds
that the pleadings are sufficient
c. Aiding and Abetting

Defendants move to dismiss Plaintiffs’ aiding and abetting N.J. RICO counts Three
elements are required for aiding and abetting liability: (1) that an independent wrong exists (2)
that the aider or abettor knows of that wrong’s existence; and (3) that substantial assistance be
given in effecting that wrong. Lcmdy v. Fed. Deposi`t fns Corp., 486 F.2d 139, 162-63 (3d Cir.
1973). “Substantial assistance occurs when a defendant affirmatively assists helps conceal or fails
to act when required to do so, thereby enabling the breach to occur.” Lemer, 459 F.3d at 295.

For the same reasons the Court is permitting the substantive RlCO claims to proceed, the
Court also finds that the N.l RICO claims should survive for purposes of this motion. lt would be
premature to determine the aiding and abetting claims at this early stage of the proceedings
Valeant Defendants’ motions on these counts therefore, are denied

d. RICO ln]`ury as to Notes

New lersey allows any person damaged by an N.J. RICO violation to bring a claim.
N.J.S.A. § 2C:41-4. The N.J. RICO violation, however, must be the “but for” and proximate cause
ofthe injuries Fi`mbe[ v. Fi`ml)elDoor Co., 2014 WL 6992004, at *9 (D.N.J. Dec. 10, 2014) (citing
Imcrchange Stare Bctnk v. Vegi'i`cz, 668 A. 2d 465, 472 (N.J. App. Div. 1995)). The Valeant

Defendants argue that Plaintiffs have not alleged N.J. RICO injuries related to the Valeant notes

14

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 16 of 23 Page|D: 1929

because there is no allegation that Valeant failed to make interest payments or defaulted on the
notes.11 (Valeant’s l\/loving Br. 15.) The Valeant Defendants also argue that Plaintiffs are not
direct purchasers of Valeant notes and, therefore, cannot allege a viable RlCO injury. (Id. at 16
n.8.) Plaintiffs respond that it is sufficient that they alleged they were harmed by the decrease in
value of the notes (Ici'. at 29.) As to the direct purchaser argument Plaintiffs respond that the
cases cited by Defendants discuss a standing rule grounded in antitrust not RICO. (Pls.’ Opp’n
Br. 29.)

Here, the Court finds that, at this early stage of the proceedings it would be premature to
dismiss claims predicated on the purchases of the notes based on lack of injury. Plaintiffs pled
that they purchased the notes at inflated prices due to the conduct of Defendants (See, e.g.,
Compl.11 392.) fn addition, the issue of whether any particular plaintiff was an original or
downstream purchaser1 or whether there is standing based on specific purchases of an individual
Plaintiff, should be reviewed with the benefit of a full discovery record Defendants’ motion on
this ground is therefore, denied

ii. w

PwC moves to dismiss all of the N.J. RICO claims against it. PwC argues that Plaintiffs
fail to plead PwC’s knowing participation in an enterprise, a pattern of racketeering activity by
PwC, the existence of an unlawful agreement that included PWC, or that PwC’s assistance was
substantial. (PwC’s l\/loving Br. 15-21.) PwC argues that Plaintiffs’ claims are implausible,

conclusory, and unsupported by factual allegations that would explain why an auditor would join

 

17 The entirety of the Lord Abbeti‘ Complaint is premised on the purchase of Valeant notes
Mi'ssissippi` and Boei'ng involve both notes and securities

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Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 17 of 23 Page|D: 1930

a criminal enterprise (Id. at 16.) PwC argues that the complaints are completely devoid of
allegations against it that would support any of the three RICO counts against it The Court agrees

Plaintiffs’ factual allegations against PwC essentially amount to PwC certifying Valeant’s
2013 and 2014 Forms 10-K and issuing an audit report in February 2015 with misrepresentations
that PwC “was aware, or should have been aware [of].” (C`ompl. 11 247.) This allegation alone
undermines Plaintiffs’ claim in the briefing that PwC was an active participant motivated to further
the goals of the conspiracy As discussed above in connection with the Section 10(b) claims the
allegations against PwC sound in negligence l-lere, the Complaints do not establish a plausible
basis for PwC’s participation in an “enterprise” under NJ RICO, nor do they establish an agreement
by PwC to participate in the enterprise or a conspiracy. Plaintiffs do not set forth any facts that
plausibly explain PwC’s participation in the enterprise To the contrary, Plaintiffs only plead that
PwC performed the audit in order to be paid its professional fees and should have recognized
potential issues with the financial records PwC’s motions as to each of the NJ RlCO claims
against it, therefore are dismissed, without prejudice

C. Section 18 Claims

Section 18 creates a private remedy for damages resulting from the purchase or sale of a
security in reliance upon a false or misleading statement contained in any document or report filed
with the Securities and Exchange Commission. 15 U.S.C. § 78r(a). A claim under Section 18 must
be filed within one year after the discovery of the facts constituting the cause of action and within

three years after the cause of action accrues

16

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 18 of 23 Page|D: 1931

Valeant argues that the Lord Abbett and Boei'ng Plaintiffs’ Section 18 claims are
untimely.“1 The Lord Abbert Plaintiffs filed their Complaint on August 23, 2017 for purchases
that occurred between March 1, 2014 and October 5, 2015. (Compl. 11 33.) The Boei`ng Plaintiffs
filed their Complaint on September 28, 2017 for purchases that occurred between January 10, 2015
and l\/larch 23, 2016. (Boeing Compl. 11 19.) Defendants argue that these purchases were made
outside of the three year statue limitations period and/or more than a year after discovery of the
facts that led to the claim. Plaintiffs respond that SOX extends the time to file a Section 18 claim.

SOX provides a two-year statute of limitations and five-year statute of repose for private
rights of action involving claims of “fraud, deceit, manipulation, or contrivance in contravention
of a regulatory requirement concerning the securities laws . . . of the Securities Exchange Act of
1934.” 28 U.S.C. § 1658(b). Whether this provision overrides the Section 18 limitations period
in 15 U.S.C. § 78r(c) is unresolved among federal courts There is no Third Circuit precedent that
has directly addressed this issue District Courts in the District of New Jersey and the Eastern
District of Pennsylvania have held that SOX does not apply to Section 18 because fraudulent intent
is not required to sustain a claim. fn re Able Labs. Sec. Litig.i 2008 WL 1967509 (D.N.J. Mar. 24,
2008) (SOX inapplicable where fraudulent intent is not required); WM Hi'gh Yi'ela' Funa' v.

O’Hanlon, 2005 WL 6788446 (E.D. Pa. May 13, 2005) (SOX does not apply where no proof of

 

111 Valeant also argues that Plaintiffs fail to meet Section 18’s stringent reliance standard
(Valeant’s Moving Br. 21.) The Court rejected this argument in a related matter on similar
pleadings and Valeant did not raise this issue again on reply, presumably in light of these
decisions See 7". Rowe Price Growrh Stock Funa', [nc., v. Valr.>ant Pharms. fm ’l, [nc._, No. 16-5034,
2018 WL 395730 (D.N._l. lan. 12, 2018); Discovery Global Citizens Master Fund, Ltd. v. Valeant
Pharms. Inr'l, Inc., No. 16-7321, 2018 WL 406046 (D.N.J. Jan. 12, 2018). T_o the extent that
Valeant has not abandoned this argument the motion to dismiss on this ground is denied, as the
Court finds Plaintiffs have sufficiently alleged reliance under Section 18.

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Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 19 of 23 Page|D: 1932

fraud is required). The Third Circuit has similarly declined to extend SOX to Section 14 claims
because of the lack of a scienter requirement fn re Exxon Mobil Corp. Sec. Lr'ri'g., 500 F.3d 189,
197 (3d Cir. 2007).

The Second Circuit recently reached a different conclusion than the two District Courts in
this circuit that have considered the issue ln Deklab Counl_v Pensi'on Fund v. Transocean Ltd.,
817 F.3d 393, 407 (2d Cir. 2016), the Second Circuit held that SOX’s expanded limitations period
applied to Section 18 claims [ci'. The Court noted that Section 18 does not impose liability if the
person sued demonstrates that “he acted in good faith and had no knowledge that such statement
was false or misleading” and, therefore something more than negligence is required for Section
18 liability. Id. (citing 15 U.S.C. § 78r(`a)). Applying this logic, the Second Circuit found that
SOX applies to Section 18 claims and overlaid the existing limitation periods with the longer
provision in § 1658(b).

Afcer carefully analyzing the relevant case law, the Court finds the Second Circuit’s
decision persuasive and holds that SOX applies to Section 18. Although the Court is cognizant of
the District of New Jersey and Eastern District of Pennsylvania decisions finding to the contrary,
these decisions pre-date the Second Circuit’s direct analysis and rely on a Third Circuit decision
analyzing Section l4(a). Section l4(a), however, is different from Section 18 in that mere
negligence is sufficient for liability to attach to a misstatement Herskowitz v. Ni-itri'/Sys., Inc., 857
F.2d 179, 190 (3d Cir. 1988) (“The test under section l4(a) is materiality of the disclosure A
material misrepresentation even when made negligently rather than intentionally or recklessly, can
still inflict the anticipated hann, and is thus deemed actionable.") (intemal citation omitted).

Section 18 is different because a Section 18 mistake made in good faith or without knowledge of

18

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 20 of 23 Page|D: 1933

a statement’s falsity is immune from liability.19 The Court agrees with the rationale of the Second
Circuit and, therefore denies Defendants’ motions regarding the timeliness of the Section 18
claims Accordingly, the remainder of Defendants’ arguments regarding the timeliness issue and
when the limitations periods begin to run are moot20

D. Negligent Misrepresentation and Fraud

Defendants move to dismiss the state common law claims arguing that they are preempted
by the Securities Litigation Unifomi Standards Act (“SLUSA”). SLUSA preempts21 any claim
that “( 1) make[s] use of a procedural vehicle akin to a class action, and (2) allege[s] a
misrepresentation or deceptive device in connection with a securities trade.” LaSala v. Bom'i`er er
Ci'e, 519 F.3d 121, 128 (3d Cir. 2008). Plaintiffs do not contest that this is a “covered class action”

(Pls.’ Opp’n Br. 44, n.37), but argue that the securities at issue are not “covered securities” and

 

19 Section 18 provides for liability to attach for false statements in filings “unless the person sued
shall prove that he acted in good faith and had no knowledge that such statement was false or
misleading 15 U.S.C. § 78r.

311 Schiller also argues that any Section 18 claims as to him regarding the second and third quarter
reports of 2015 should be dismissed because he did not execute these filings because they were
made after he had stepped down as CFO in June 2015 (Schiller’s Moving Br. 8) and that Section
18 claims based on 10-Q reports are exempt from liability due to the safe harbor of “financial
inforination” (i`a'. at 7). ln Di'scovery Global Ci`ti`zens Master Fund, Lral. v. Valeam P}iarms. Inr’l,
Inc., No. 16-7321, 2018 WL 406046, at *5 (D.N..l. Jan. 12, 2018), the Court rejected these
arguments finding that, at this early stage of the litigation, it is premature to rule on these fact
intensive issues The Court reaches the same conclusion here

21 SLUSA preemption is only as to the procedural aspect of the claims As the Supreme Court has
explained, the “SLUSA does not actually pre-empt any state cause of action. lt simply denies
plaintiffs the right to use the class-action device to vindicate certain claims The Act does not deny
any individual plaintiff, or indeed any group of fewer than 50 plaintiffs the right to enforce any
state-law cause of action that may exist” Merri'll Lynch, Pi`erce, Fenner & Smi'th ]nc. v. Dabz`t, 547
U.s. 7i, 87 (2006).

19

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 21 of 23 Page|D: 1934

therefore SLUSA preemption does not apply (Pls.’ Opp’n Br. 44-45 (citing 15 U.S.C.
78bb(f`)(5)(E)).

SLUSA bars state law claims in a class actions alleging “a misrepresentation or omission
of a material fact in connection with the purchase or sale of a covered security.” 15 U.S.C. §
78bb(f)(l)(A) (emphasis added). The Supreme Court has addressed the scope of SLUSA
preemption in two cases relevant to our analysis ln the first, Dabz`t, the Supreme Court has
interpreted the “in connection with” language to apply SLUSA preemption broadly. Dob.ii‘, 547
U.S. at 71, 74 (“The background the text, and the purpose of SLUSA’s pre-emption provision all
support the broader interpretation . . .”). The Supreme Court has held that “it is enough that the
fraud alleged ‘coincide’ with a securities transaction” Dabi'l, 547 U.S. at 85 (citing Uni'rea’ States
v. O'Hngan, 521 U.S. 642, 651 (1997)).

ln the second case Chadbonrne & Parke LLP v. Troice, 571 U.S. 377, 387 (2014), the
Court addressed the purchase of an uncovered security. ln Troice, the plaintiffs purchased
uncovered debt securities based on a misrepresentation that they were “backed” by covered
securities Id. at 380. lt was later revealed, however, that the issuer of the uncovered debt security
did not actually hold any covered securities [d, at 384. The Supreme Court found that SLUSA
did not preempt the state law claims The Supreme Court explained that this result was necessary
because “[a]n interpretation that insists upon a material connection with ct transaction in ci covered
security is consistent with [SLUSA’s] basic focus” [d. at 387 (emphasis added). In Troi'ce, unlike
in the instant case the fraudulent conduct did not impact any covered security. Here, however,
even assuming that the notes at issue are uncovered securities the underlying fraud involves a
“covered” security, which subsequently impacted the price ofthe notes at issue (Compl.1111 6, 33.)

Plaintiffs here were allegedly defrauded based on misrepresentations regarding Valeant’s common

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Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 22 of 23 Page|D: 1935

stock, Which affected the note purchases and the prices at which they were purchasedl The Lord
Abbetr and Boer'ng Plaintiffs specifically allege that they purchased the notes in reliance on the
fraudulent representations that caused Valeant’s common stock price to soar. (See Compl. 1111 6,
390, 464). In other Words, Plaintiffs’ state law claims stemming from the note purchases Would
not exist but for the fraud that Defendants allegedly perpetrated in relation to the stock price. in
Trot`ce, however, the fraudulent scheme did not affect covered securities in the same Way. The
Troice plaintiffs Were induced to buy uncovered debts based on a fraudulent claim that defendant
owned covered securities that would back their purchases Troice, 571 U.S. at 381. The Supreme
Court found this type of misrepresentation had no “material connection with a transaction in a
covered security.” Id. at 387. Whereas, the plaintiffs in T)-'oice could not link their purchase to
any “transactions in covered securities,” id. , all of Plaintiffs’ claims here originate from fraudulent
statements that caused Valeant stock to trade at inflated prices

The Court finds therefore, that the Complaints allege a misrepresentation or omission of
material fact connected to Valeant common stock sufficient to trigger SLUSA. 15 U.S.C.
§ 78bb(f)(5)(E). Plaintiffs’ negligent misrepresentation and fraud claims are inextricably linked
to an alleged fraud that caused the price of a “covered security,” Valeant stock, to artificially
intlate, Which directly impacted the notes This is exactly the type of scheme that SLUSA Was
intended to preempt. “Congress passed SLUSA to close a loophole that allowed class-action
litigants to avoid the heightened pleading standards for federal securities-fraud claims by filing
suits under state law.” Lrn's v. RBC Capz`tal Mkts., LLC, No. 16-03873, 2017 WL 4150872, at *2
(D. l\/linn. Sept. 18, 2017). SLUSA is intended to be expansive and “[t]he magnitude of the federal
interest in protecting the integrity and efficient operation of the market for nationally traded

securities cannot be overstated.” Dabfi‘, 547 U.S. at 78. “[C]ourts should err on the side of finding

21

Case 3:17-cv-06365-|\/|AS-LHG Document 109 Filed 07/31/18 Page 23 of 23 Page|D: 1936

in favor of preclusion under SLUSA When the issue is a close one.” Lin's, 2017 WL 4150872, at
*3. Allowing Plaintiffs to proceed on their state law negligent misrepresentation and fraud claims,
therefore, Would directly contravene Congress’s intent behind SLUSA’s preemption provision as_
interpreted by the Supreme Court in Dabi't.
Accordingly, the Court finds that the Lord Abbett and Boei'ng Plaintiffs’ state common law
claims are preempted under SLUSA.
IV. Conclusion
For the reasons set forth above, PWC’s motions to dismiss the Section 10(b) claims against
it are GRANTED; Carro’s Motion to Dismiss the Section 10(b) claim in LorciAl)bett is DENIED;
Valeant Defendants’ motions to dismiss the RICO claims are DENIED; PwC’s motions to
dismiss the RICO claims are GRANTED; Defendants’ motions to dismiss the Section 18 claims
are DENIED, and Defendants’ motions to dismiss the common law fraud and negligent
misrepresentation claims are GRANTED. An Order consistent With this Memorandum Opinion

Will be entered.

s/ Michael A. Shipp
MICHAEL A. SHIPP
UNITED STATES DISTRICT JUI)GE

Dated: July 31, 2018

22

